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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.


                        GOVERNMENT’S OPPOSITION TO
                 DEFENDANT’S MOTION FOR BILL OF PARTICULARS


       The United States of America respectfully opposes the motion for a bill of particulars

filed by defendant Concord Management and Consulting LLC (“Concord”). Dkt. No. 104. In

support of its position, the government states as follows.

FACTUAL BACKGROUND

       On February 16, 2018, the grand jury returned an eight-count, thirty-seven page

indictment against thirteen individuals and three corporate defendants, including Concord.

Count One charges all defendants with conspiracy to defraud the United States in violation of 18

U.S.C. § 371. Count One, which comprises 85 paragraphs, describes the goals of the conspiracy.

Dkt. No. 1 ¶¶ 1-7. In particular, the indictment alleges that a Russian organization, defendant

Internet Research Agency LLC (the “Organization”), “had a strategic goal to sow discord in the

U.S. political system, including the 2016 U.S. president election.” Id. ¶ 6. The indictment

alleges that, in furtherance of this goal, the Organization conducted what it called “information




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warfare” against the United States to spread “distrust towards the candidates” in the 2016

election and “the political system in general.” Id. ¶ 10.

       Count One describes the role that each defendant played in the conspiracy. Id. ¶¶ 10-24.

With respect to Concord, the indictment alleges that the company “was the Organization’s

primary source of funding for its interference operations.” Id. ¶ 11. Concord also “controlled

funding, recommended personnel, and oversaw Organization activities through reporting and

interaction with Organization management.” Id.

       Count One also includes a detailed description of the manner and means by which the

conspirators operated. The indictment alleges that the conspirators “began to track and study

groups on U.S. social media sites dedicated to U.S. politics and social issues.” Id. ¶ 29. The

indictment alleges that conspirators traveled to the United States “under false pretenses in order

to collect intelligence for their interference operations.” Id. ¶ 30. The indictment alleges that the

conspirators used online personas to pose as U.S. persons “to collect additional intelligence.” Id.

¶ 31. The indictment describes the conspirators’ use of social media platforms to achieve the

aims of the conspiracy. Id. ¶¶ 32-38. The indictment describes the conspirators’ use of U.S.

computer infrastructure “[t]o hide their Russian identities and Organization affiliation.” Id. ¶¶

39-40. The indictment describes the conspirators’ use of stolen U.S. identities. Id. ¶ 41. The

indictment describes the conspirators’ efforts to target the 2016 U.S. presidential election,

including the use of fictitious online personas, the use of election-related hashtags, efforts to

encourage U.S. minority groups not to vote in the election, the promotion of allegations of voter

fraud, the purchase of political advertisements, and the staging of political rallies in the United

States from Russia. Id. ¶¶ 42-57. The indictment describes efforts by the conspirators to destroy

evidence. Id. ¶ 58. Count One concludes with a recitation of 26 overt acts in furtherance of the



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conspiracy. Id. ¶¶ 60-85. The alleged overt acts include examples of campaign events organized

by the conspirators, false U.S. personas used by the conspirators, messages sent using those false

personas, and advertisements purchased by the conspirators.

       In addition to the detailed allegations in the indictment, Concord has also received

significant information about the nature of the charge in discovery. A more detailed description

of the discovery is set forth in a sealed supplement to this filing.

       Finally, the government has also provided information about the allegations against

Concord in its filings in this case. In particular, the government’s opposition to Concord’s

motion to dismiss for failure to allege a violation of 18 U.S.C. § 371, Dkt. No. 56, describes in

detail the government’s theory of Concord’s criminal liability, including an explanation of the

relevant statutory provisions of the Federal Election Campaign Act and the Foreign Agents

Registration Act. Dkt. No. 56, at 6-8.

       Notwithstanding this detailed recitation of the allegations against the defendants, on

March 4, 2019, Concord filed a motion for a bill of particulars setting forth fifty-one requests for

information. Those requests fall into three categories:

   •   Requests for definitions of terms used in the indictment, Dkt. No. 104-1 ¶¶ 2, 3, 5, 8, 10,

       13, 14, 20, 42;

   •   Requests to identify particular witnesses, actors, or pieces of evidence referenced in the

       indictment, id. ¶¶ 4, 6, 7, 9, 11, 12, 15, 17, 18, 19, 21, 22, 28, 29, 30, 31, 32, 33, 34, 35,

       36, 37, 38, 39, 40, 41, 43, 44, 45, 46, 48, 49, 50; and

   •   Requests to identify particular statutes or regulations, id. ¶¶ 16, 23, 24, 25, 26, 27, 47,




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ARGUMENT

       Under Federal Rule of Criminal Procedure 7(f), the Court “may direct the government to

file a bill of particulars.” The purpose of a bill of particulars is “to ensure that the charges

brought against a defendant are stated with enough precision to allow the defendant to

understand the charges, to prepare a defense, and perhaps also to be protected against retrial on

the same charges.” United States v. Butler, 822 F.2d 1191, 1193 (D.C. 1987). If an indictment

“is sufficiently specific, or if the requested information is available in some other form, then a

bill of particulars is not required.” Id.; see United States v. Lorenzana-Cordon, 130 F. Supp. 3d

172, 179 (D.D.C. 2015) (denying motion for bill of particulars and noting that the government

had provided extensive discovery that “allows Defendants to adequately prepare for trial”).

       A bill of particulars “is not a discovery tool or a devise for allowing the defense to

preview the government’s theories or evidence.” United States v. Ramirez, 54 F. Supp. 2d 25, 29

(D.D.C. 1999); see also United States v. Brodie, 326 F. Supp. 2d 83, 91 (D.D.C. 2004) (same).

Rather, a bill of particulars “is intended to give the defendant only that minimum amount of

information necessary to permit the defendant to conduct his own investigation and not to

provide the defendant with the fruit of the government’s investigation.” United States v. Sanford

Ltd., 841 F. Supp. 2d 309, 316 (D.D.C. 2012) (internal quotation marks and citation omitted,

emphasis in original). Therefore, a bill of particulars “properly includes clarification of the

indictment, not the government’s proof of its case.” United States v. Martinez, 764 F. Supp. 2d




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 The motion also requests incorporation information about another organizational defendant,
Concord Catering. Dkt. No. 104-1 ¶ 1.

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166, 173 (D.D.C. 2011) (internal quotation marks and citation omitted); United States v. Savoy,

889 F. Supp. 2d 78, 115 (D.D.C. 2012) (same).

       Applying this principle, the Court has consistently denied motions for a bill of particulars

where, as here, the motion seeks details about the nature of the government’s evidence. Thus,

for example, in United States v. Han, 280 F. Supp. 3d 144, 149 (D.D.C. 2017), the Court denied

a motion for a bill of particulars requesting information about the basis for fraud and tax charges

against the defendant, including the precise representations allegedly made by the defendant and

the amount of taxes allegedly owed. The Court explained that the requested information had

already been provided to the defendant in discovery and elsewhere, and a “bill of particulars is

meant to allow a defendant to properly prepare for trial, not provide a method to force the

prosecution to connect every dot in its case.” Id.

       Similarly, in Brodie, the Court denied a motion for a bill of particulars requesting “the

circumstances surrounding the alleged acts” of fraud committed by the defendants as well as

“other evidentiary details.” 326 F. Supp. 2d at 92. The Court reasoned that the charges set forth

in the indictment were “detailed and alleged with particularity” and “the discovery provided by

the government has been voluminous,” and therefore there was “no reason for any further

particularization of the overt acts.” Id.

       Finally, in Sanford Ltd., the Court denied a motion for a bill of particulars regarding the

“substance, time, place and date” of allegations regarding falsification of records and other

charges against a corporate defendant. 841 F. Supp. 2d at 315. The Court explained that “the

general rule in conspiracy cases is that the defendant is not entitled to obtain detailed information

about the conspiracy in a bill of particulars.” Id. at 317 (internal quotation marks and citation

omitted). Accordingly, the Court denied the defendant’s request for information about the



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identities of its employees alleged to have participated in the conspiracy and other details about

the overt acts charged in the indictment. Id. at 317-18.

       Here, as in Han, Brodie, and Sanford Ltd., the defendant’s motion for a bill of particulars

requests a preview of the government’s evidence by demanding detailed information about the

conspiracy. Thus, for example, Concord requests the names of particular individuals associated

with particular overt acts. Dkt. No. 104-1 ¶¶ 4, 6, 7, 9, 12, 15, 17, 18, 20, 21, 28, 29, 30, 31, 33,

34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 48, 49, 50. This is precisely the sort of

information that the Court has concluded is not appropriate for a bill of particulars. On the

contrary, a conspiracy indictment “need not spell out which co-conspirator committed which

conspiratorial act,” and therefore a defendant is not entitled to a bill of particulars requesting

such information. Martinez, 764 F. Supp. 2d at 174. That is, “defendants in a conspiracy case

may not obtain the whens, wheres, and with whoms in a bill of particulars.” Sanford Ltd., 841 F.

Supp. 2d at 318 (quoting United States v. Diaz, 303 F. Supp. 2d 84, 89 (D. Conn. 2004))

(quotation marks and ellipses omitted).

       Concord’s motion also impermissibly seeks details about the specific documentary

evidence the government intends to use at trial. In some instances, Concord seeks this

information through direct requests about the nature of the evidence. E.g. Dkt. No. 104-1 ¶ 19

(seeking “bank names and account numbers” associated with a particular allegation); id. ¶ 21

(seeking the dates and times of communications associated with a particular allegation); id. ¶¶

32, 34, 36 (seeking the identification of particular social media accounts associated with a

particular allegation); id. ¶ 39 (seeking the identification of virtual private networks associated

with a particular allegation); id. ¶ 40 (seeking the identification of “web-based email accounts”

associated with a particular allegation); id. ¶ 41 (seeking the identification of PayPal accounts



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associated with a particular allegation). In other instances, Concord seeks this information

indirectly, by requesting the definition of phrases in the indictment. E.g., id. ¶ 8 (seeking

definition of “computer infrastructure”); id. ¶ 13 (seeking definition of “certain domestic

activities”). This kind of detail about the evidentiary basis for the allegations in the indictment is

not properly requested through a bill of particulars. See Brodie, supra; Han, supra.

       Moreover, as in Han, Brodie, and Sanford Ltd., the requested information is available to

the defendant in some other form, namely in the discovery provided by the government and in

the government’s filings to date. The government’s discovery production includes key document

collections for both the sensitive and non-sensitive discovery. Those collections comprise many

of the documents underlying the allegations in the indictment, including documents that identify

particular social media, email, and PayPal accounts. Because this organization of the discovery

provides the defense with the requested information in some other form, the defendant’s motion

for a bill of particulars should be denied. See Brodie, 326 F. Supp. 2d at 92 (denying motion for

bill of particulars on fraud charges and noting that “the discovery provided by the defendant has

been voluminous”); Han, 280 F. Supp. 3d at 149 (denying motion for bill of particulars on fraud

and tax charges based in part on information provided in discovery).

       Similarly, the legal basis for Count One has been described at length in the government’s

opposition to Concord’s motion to dismiss, Dkt. No. 56, and in the Court’s order denying the

motion, Dkt. No. 74. Accordingly, Concord’s requests for information about the statutes and

regulations underlying the allegations in the indictment, Dkt. No. 104-1 ¶¶ 16, 23, 24, 25, 26, 27,

47, 51, should be denied.

       Concord’s contention that it is entitled to the identities of unindicted co-conspirators

because “[t]his court has routinely granted motions for bills of particulars where the defendant



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seeks the identities of unindicted co-conspirators” is also without merit. Dkt. No. 104, at 7. On

the contrary, the Court has required the government to provide the identities of unindicted co-

conspirators only when the indictment gives “little detail” about the nature of the conspiracy

charge. Ramirez, 54 F. Supp. 2d at 30. In Ramirez, for example, the Court required the

government to furnish a bill of particulars identifying unindicted co-conspirators because the

indictment charged a narcotics conspiracy under 21 U.S.C. § 846 and included no overt acts.

Similarly, United States v. Bazezew, 783 F. Supp. 2d 160, 168 (D.D.C. 2011), another case cited

by Concord, concerned an indictment that “provide[d] very little information” and alleged “only

a single overt act” by each defendant, leaving the defendants unable “to adequately prepare for

trial” or to “avoid surprise at trial.” By contrast, the Court has denied motions for a bill of

particulars requesting the identities of unindicted co-conspirators where the indictment already

provided sufficient detail about the nature of the charged conspiracy. E.g., Sanford Ltd., 841 F.

Supp. 2d at 317. Moreover, the unindicted co-conspirators referenced in the indictment are the

officers and employees of Concord and the Internet Research Agency who participated in the

alleged criminal conduct, greatly lessening any “surprise at trial” from the identities of the

unindicted co-conspirators. Bazezew, 783 F. Supp. 2d at 168.

       Concord’s further contention that “[t]he identification of social media and email accounts

is necessary to allow Concord to adequately prepare for trial,” Dkt. No. 104, at 10, is similarly

unavailing. The government has already provided Concord with ample discovery, including

collections of key documents that identify social media and email accounts used by the

conspirators. Concord’s demand for additional information about the particular methods and

tools used by the conspirators amounts to an impermissible “preview” of the government’s




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“evidence,” Ramirez, 54 F. Supp. 2d at 29, and of the means by which the government will prove

its case, Martinez, 764 F. Supp. 2d at 173. 2

       Finally, Concord’s observation that “[d]efinitions are appropriate subjects of a bill of

particulars motion” where the terms are “unnecessarily vague,” Dkt. No. 104, at 11 (quoting

United States v. Hubbard, 474 F. Supp. 64, 80 (D.D.C. 1979)), does not support its position. The

terms for which Concord seeks definitions either are not “unnecessarily vague” or are explained

elsewhere in the indictment. For example, paragraph three of the indictment alleges that

“Concord and Prigozhin spent significant funds to further the Organization’s operations….”

Dkt. No. 1 ¶ 3. Concord’s motion demands a definition of the term “significant funds.” Dkt.

No. 104-1 ¶ 5. The term “significant funds” in this context is “sufficiently clear to enable the

defendants to prepare their defense.” Hubbard, 474 F. Supp. at 80. The government is not

required to specify in the indictment the precise amount of money spent by Concord and

Prigozhin in furtherance of the conspiracy, and so the use of the term “significant funds” in the

indictment rather than a precise dollar amount does not render the indictment unnecessarily

vague for purposes of a motion for a bill of particulars. Other requested definitions are to the

same effect. E.g., Dkt. No. 104-1 ¶ 10 (requesting definitions of “strategic goal to sow discord in




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  Concord’s analogy of the social media and email accounts to false statements is unavailing.
Unlike the defendants in the cases cited in its motion, Concord is not charged with making false
statements. Concord is charged with participating in a conspiracy to defraud the United States
by impairing, obstructing, and defeating the lawful functions of the United States government.
The social media and email accounts identified in the indictment, unlike the false statements in a
prosecution under 18 U.S.C. § 1001, were merely some of the tools that the conspirators used to
achieve their unlawful objectives.

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the U.S. political system,” “derogatory information” and “disparaging Hillary Clinton” in a

paragraph of the indictment summarizing the goals of the conspiracy).

       Similarly, paragraph two of the indictment alleges that the defendants conspired “to

defraud the United States by impairing, obstructing, and defeating the lawful functions of the

government through fraud and deceit for the purpose of interfering with the U.S. political and

electoral processes.” Dkt. No. 1 ¶ 2. Concord’s motion requests the definitions of “interfere

with elections and political processes,” “impairing, obstructing and defeating the lawful

functions of the government,” and “interfering with the U.S. political and electoral processes.”

Dkt. No. 104-1 ¶ 3. As this Court has already held, those terms are adequately defined elsewhere

in the indictment. Dkt. No. 74, at 8 (noting that “the indictment must identify the lawful

government functions at issue with some specificity” and holding that “it does”). Here again,

other requested definitions are to the same effect. Compare, e.g., Dkt. No. 104-1 ¶ 8 (requesting

definition of “computer infrastructure”), with Dkt. No. 1 ¶¶ 39-40 (describing in detail the “[u]se

of U.S. [c]omputer [i]nfrastructure” by the conspirators); compare Dkt. No. 104-1 ¶ 13

(requesting definition of “certain domestic activities” in allegation that defendants impaired the

function of “administering federal requirements for disclosure of foreign involvement in certain

domestic activities”), with Dkt. No. 1 ¶¶ 25-26 (describing in detail the requirements of the

Federal Election Campaign Act and the Foreign Agent Registration Act).

                                  *      *       *       *      *

       Concord’s motion seeks information that is not appropriate to a bill of particulars,

including the identification of particular items of evidence and the means by which the

government will prove its case. Moreover, much of the information sought by Concord has

already been provided elsewhere—in discovery, in the government’s opposition to Concord’s



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motion to dismiss Count One, and in other parts of the indictment itself. Accordingly, Concord’s

motion for a bill of particulars should be denied.



                                      Respectfully submitted,

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